                    Case 1:20-cv-06727-AJN Document 27
                                                    28 Filed 01/19/21
                                                             01/21/21 Page 1 of 2



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                                                    January 19, 2021

      Via ECF

      Honorable Alison J. Nathan, U.S.D.J.
      United States District Court for the
         Southern District of New York
      40 Foley Square, Room 2102                                                 1/21/2021
      New York, New York 10007

                Re:          Jeffrey M. Goldman v. Sol Goldman Investments LLC, et al.
                             Civil Action No.: 1:20-cv-6727

      Dear Judge Nathan:

                This firm represents Defendants Sol Goldman Investments LLC (“SGI”), Solil

      Management, LLC (“Solil”), and Jane H. Goldman (collectively, “Defendants”) in the above

      styled matter. Pursuant to Local Rule 7.1(d), SGI submits this letter-motion to adjourn the

      mediation presently scheduled for February 24, 2021, for the reasons set forth within.

                As the Court is aware, SGI filed a motion to dismiss the Amended Complaint, pursuant to

      Rules 12(b)(1) (lack of subject matter jurisdiction) and 12(b)(6) (failure to state a claim upon which

      relief may be granted). That motion is not fully briefed yet. In the interim, pursuant to the Chief

      Judge’s standing order in employment cases, the mediation office assigned a mediator to this

      matter and an initial conference call between the parties and the mediator took place.



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                       Case 1:20-cv-06727-AJN Document 27
                                                       28 Filed 01/19/21
                                                                01/21/21 Page 2 of 2
 1500 LAWRENCE AVENUE
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                   At the present time, a mediation session is scheduled for February 24, 2021. In light of the
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        fact that SGI’s motion is pending -- and raises subject-matter jurisdiction issues arising from a
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        dispute as to which entity actually employed Plaintiff -- SGI respectfully requests that the
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        mediation b adjourned until after the motion is decided. This would avoid the prospect of having
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        an unnecessary and potentially improper party participate in the mediation, which only will disrupt
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        the proceeding and reduce the chance of an amicable resolution. Once the Court decides the
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        pending motion to dismiss, the parties can then proceed to mediation. No prior adjournment of

        the mediation session has been requested and counsel to Plaintiff has offered no objection to this

        request.

                   For the foregoing reasons, SGI respectfully submits that its letter-motion to adjourn the

        mediation presently scheduled for February 24, 2021 be granted.

      SO ORDERED.                                        Respectfully submitted,


                                  1/20/2021

                                                         Joshua S. Bauchner, Esq.
                                                         Ansell Grimm & Aaron, P.C.
                                                         Attorneys for Defendants

        Cc:        Counsel for Plaintiff (via ECF)




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